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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                      )
UNITED STATES OF AMERICA, ex rel.                     )
VERMONT NATIONAL TELEPHONE CO.,                       )
                                                      )
               Plaintiff,                             )
                                                      ) CIVIL ACTION NO. 15-00728(CKK)
                       v.                             )
                                                      )
NORTHSTAR WIRELESS, L.L.C. et al.,                    )
                                                      )
               Defendants.                            )
                                                      )

  RELATOR’S UNOPPOSED MOTION FOR LEAVE TO AMEND THE COMPLAINT
                  AND TO SET BRIEFING SCHEDULE

       Relator Vermont National Telephone Co. (“Relator”) hereby moves for leave to amend

the Complaint pursuant to Federal Rule of Civil Procedure 15(a)(2). As set forth in Relator’s

accompanying Memorandum, the interests of justice weigh in favor of granting Relator’s

Motion. None of the changes in the proposed amended complaint alter the core False Claims

Act allegations in the Complaint, but rather seek to clarify and supplement Relator’s allegations

for the United States, the Court, and Defendants. Relator further proposes the following briefing

schedule: (i) 45 days for any motion to dismiss filed by Defendants; (ii) 45 days for Relator’s

opposition brief; and (iii) 21 days for Defendants’ reply.

       Pursuant to Local Rule 7(m), Relator has conferred with Defendants, and they do not

oppose this Motion.

                                              By:      /s/ Stephen J. Obermeier
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February 4, 2019                         Telephone Company
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                    )
UNITED STATES OF AMERICA, ex rel.                   )
VERMONT NATIONAL TELEPHONE CO.,                     )
                                                    )
               Plaintiff,                           )
                                                    ) CIVIL ACTION NO. 15-00728(CKK)
                       v.                           )
                                                    )
NORTHSTAR WIRELESS, L.L.C. et al.,                  )
                                                    )
               Defendants.                          )
                                                    )

     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF RELATOR’S
         UNOPPOSED MOTION FOR LEAVE TO AMEND THE COMPLAINT
                    AND TO SET BRIEFING SCHEDULE

        Pursuant to Federal Rule of Civil Procedure 15(a)(2), Relator Vermont National

Telephone Co. (“Relator”) respectfully submits this Motion for Leave to Amend the Complaint

and to Set Briefing Schedule.1 The United States consents to this Motion, and Defendants do not

oppose this motion.

I.      THE MOTION FOR LEAVE TO AMEND SHOULD BE GRANTED.

        Relator filed its Complaint on May 13, 2015. Dkt. 1. Following the unsealing of the

Complaint, this Court stayed the case in part due to ongoing Federal Communications

Commission (“FCC”) proceedings. However, by this Court’s Order dated October 26, 2018, the

Court lifted the stay in the case to proceed with determining “whether Northstar, SNR, and other

defendants acted fraudulently in prior FCC proceedings, such that Relator can recover on behalf

of the United States.” Dkt. 68 at 1.



1
  Relator’s proposed First Amended Complaint is attached as Exhibit A to this Motion, and a
redline comparison of the First Amended Complaint to Relator’s Complaint is attached as
Exhibit B.
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       Since the lifting of the stay, Relator’s counsel has been in discussions with the United

States Department of Justice (“DOJ”), which has requested that Relator amend its Complaint to

clarify certain of its allegations.   The proposed Amended Complaint addresses the DOJ’s

concerns. The remaining changes to the Complaint reflect additional information Relator has

acquired since the Complaint was filed more than three years ago as well as information that

supplements the timeline of Defendants’ overarching scheme and Relator’s disclosure of the

scheme to the Government.

       Where a plaintiff is outside of the timeframe to amend its complaint as a matter of course,

Federal Rule of Civil Procedure 15(a)(2) permits amendment with the Court’s leave. Fed. R.

Civ. P. 15(a)(2). “In the absence of any apparent or declared reason . . . [leave to amend] should,

as the rules require, be ‘freely given.’” Foman v. Davis, 371 U.S. 178, 182 (1962); accord

Armstrong v. Bush, 807 F. Supp. 816, 818-19 (D.D.C. 1992) (Rule 15 “has been liberally

construed to allow amendments in the absence of undue delay or undue prejudice to the opposing

party”); Firestone v. Firestone, 76 F.3d 1205, 1208 (D.C. Cir. 1996) (noting that “it is an abuse

of discretion to deny leave to amend unless there is sufficient reason”); see also Wildearth

Guardians v. Kempthorne, 592 F. Supp. 2d 18, 23 (D.D.C. 2008) (“The decision whether to

grant leave to amend or supplement a complaint is within the discretion of the district court, but

leave ‘should be freely given unless there is good reason . . . to the contrary’” (quoting

Willoughby v. Potomac Elec. Power Co., 100 F.3d 999, 1003 (D.C. Cir. 1996)). Granting leave

to amend “is especially favored” where, as here, “the proposed changes do not radically reshape

the action[.]” Council on Am.-Islamic Relations Action Network, Inc. v. Gaubatz, 793 F. Supp.

2d 311, 322 (D.D.C. 2011) (citing Smith v. Cafe Asia, 598 F. Supp. 2d 45, 48 (D.D.C. 2009)).




                                                  2
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       Relator’s request for leave to amend should be granted. This amendment is being filed in

consultation with DOJ, and Defendants do not oppose the amendments. Further, the proposed

amendments do not substantially alter the original Complaint, and amendment will not result in

undue delay. Although permitting this first amendment by Relator will delay initial briefing on

the case a few weeks as described below, that is not a reason to deny Relator’s request.

II.    THE COURT SHOULD ENTER THE FOLLOWING BRIEFING SCHEDULE.

       Per the Defendants’ request, the Court should set the following briefing schedule:

Date                                                Filing/Event
45 days from the date of the Court’s Order          Defendants’ responsive pleading or motion to
granting Relator’s Motion                           dismiss due

45 days from the date on which Defendants’          Relator’s opposition brief due, if any
motion to dismiss is served on Relator

21 days from the date on which Relator’s            Defendant’s reply brief due, if any
opposition is served on Defendants


       For the foregoing reasons, Relator respectfully requests that the Court grant its

Unopposed Motion for Leave to Amend the Complaint and to Set Briefing Schedule.

Dated: February 4, 2019                      Respectfully submitted,

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